Case 2:11-cr-00277-SRC            Document 102         Filed 05/23/11           Page 1 of 4 PageID: 200

                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                                 :      Honorable Stanley R. Chesler

                  v.                                       :      lICr277

  MICHAEL F. DURANTE, et aL                                :      CONTINUANCE ORDER

           This matter having been opened to the Court by detndant

                                                               Esq., appearing), and Paul J. Fishman. United

  States Attorney for the District of New Jersey (Anthony J, Mahajan, Assistant U.S. Attorney,

  appearing) for an order granting a continuance of the proceedings in the above-captioned matter for

  90 days, and the defendant being aware that he/she has the right to have the matter tried within

  seventy days of the filing date of the Indictment, pursuant to Title 18 of the United States Code,

 Section 3161(c), and the defendant having waived such right, and for good and sufficient cause

 shown,

          IT 15 THE FINDING OF THIS COURT that this action should be continued for the

 following reasons:

          1. Plea negotiations are in progress. The successful completion of such negotiations may

 render trial of this matter unnecessary,

          2. Defendant has consented to the aforementioned continuance.

          3. Pursuant to Title 18 of the United States Code, Section 316l(h)(8). the ends of justice

 served by granting the continuance outweigh the best interests of the public and the defendant in a

 speedy trial.

         WHEREFORE. it is on this
                                         )3       day of                           201 1,

         ORDERED that the proceedings in the above-captioned matter are continued from May 2,
    Case 2:11-cr-00277-SRC             Document 102           Filed 05/23/11      Page 2 of 4 PageID: 201




                                      IJNITEIJ STATES DISTRICT COURT
                                          DiSTRiCT O NEW JERSEY


    INIThD STATES OF AMERICA                              :      Honorable Stanley R. Chesler

                                                                 11Cr. 277

    MICHAnC F. DUPANTE. et aL                             :      CONTLNUAiCE ORDER

             Ths matter having been opened to the Court by 1
                                                           defendantj4fUIjL                         J47
    (          Agik        .
                                                              Esq., appearing), and Paul J. Fishman, United

    States Attorney for the District of New Jersey ‘Anthony J Mahaian. Assistant LS. Attorney.

    appearirgi for an order granting a continuance of the proceedings in the above-capttoned matter for

    90 days, and the defendant being aware that he/she has the right to have the matter tried within

    seventy days of the Fiing date of the indictment, pursuant to Title 18 of the L nited States code,

    Section 31 6l Ic). and the defendant having waived such right, and for good and sufficient cause

    shown,

             IT IS TIlE FINDING OF THIS COURT that this action shouid be continued for the

    following reasons:

             1. Plea negohations are in progress. The successftil completion of such negotiaons may

    render trial of this matter unnecessary.

             2. Defendant has consented to the aforementioned continuance.

             3. Pursuant to Title 18 of the United States Code, Section 3161(h)(8), the ends ofjustice

    served by eranting the continuance outweigh the best i:iterests of the public and the defendant in a

    speedy r:al.

             WHEREFORE, it is on this                day of                        201 1,

             ORDERED that the proceedings in the above-captioned matter are continued from May 2.




7   J3,j     d7r     TT_QT—c
                                   .




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      2011 through August 2.2011;

             IT IS FURTHER ORDERED that the period between May 2. 2011 through August 2.

      2011. shall be excludable in computing time under the Speedy Trial Act of 1 974;

              IT IS FURTHER ORDERED that if defendants intend to file motions, their motions shall
                     /• it.
      be filed on           : ( I
             IT IS FURTHER ORDERED that any opposition by the Government to defendants

      motions shall be filed on

             IT IS FURTHER ORDERED that any reply by the defendants to the Governrnent’s

      oppositionshallbefiledon            1 i    ‘      ‘   I                        ij
                                                                                          4
             ITI FURTHER ORDERED that the trial ni this matterill commence on                 11   c




                                                  HO     RABLE STANLEY R. CHESLER
                                                  Uiited States District Judge

     Requested and Agreed to by:




(                                      Esq.



     Anthony J. Mahajan. AUSA
                             ___________
                                     ___________
                                         _________ _________

    Case 2:11-cr-00277-SRC               Document 102    Filed 05/23/11     Page 4 of 4 PageID: 203




    2011 through Auust 2. 2011:

            IT IS FURTHER ORDERED tlat the period between May 2, 01 I through August 2,

    201 1, shall be excludable n computing time under the Speedy Trial Act of 1974:

            iT IS FURTHER ORDERED that if defendants intend to file tno:ions. their nie:iors shall

    be filed on

            IT IS FURTHER ORDERED that any opposition by the Government to defendants’

    motions shall be flied on

            IT IS FURTHER ORDERED that any reply by the defe:idar.ts to the Government’s

    opposition shall be flied on

            IT IS FURTHER ORDERED that the trial in this matter wiil commence on




                                                HONORABLE STANLEY R. CI-IESLER
                                                United States District Judge

    Requested and Agreed to by:




    jlTh4         fl k4t           ,   Esq

                                   .




    Anthony J. Mahaian. ALSA




£   :J      dFT:I
